 

Case 2: 194 -CV- 02305 Rup

0 a (Jackson) DIVISION

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X) Western(Memphis) DIVISION JOE “~
; FE CEIVEN
Plaintiff, Jacqueline Holloway | 2019 M; AY |; AM II: 59

VS.

Defendant. FedEx Express

)
)
)
)
) No.
)
)
)
)

 

COMPLAINT

 

1. This action is brought for discrimination in employment pursuant to (check only those

that apply):

L]

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Title VH of the Civil Rights Act of 1964, as codified, 42 U.S.C. §§ 2000e
to 2000e-17 (amended in 1972, 1978 and by the Civil Rights Act of 1991,
Pub. L. No. 102-166) (race, color, gender, religion, national origin).
NOTE: in order to bring a suit in federal district court under Title VU,
you must first obtain a right to sue letter from the Equal Employment
Opportunity Commission.

Age Discrimination in Employment Act of 1967, as codified, 29 U.S.C. §§
621 — 634 (amended in 1984, 1990, and by the Age Discrimination in
Employment Amendments of 1986, Pub. L. No. 92-592, the Civil Rights
Act of 1991, Pub. L. No. 102 -166)

NOTE: In order to bring a suit in federal district court under the Age
Discrimination in Employment Act, you must first file charges with the
Equal Employment Opportunity Commission.

Americans with Disabilities Act of 1990, as codified, 42 U.S.C. §§ 12112
— 12117 (amended by the ADA Amendments Acts of 2008, Pub. L. No.
110-325 and the Civil Rights Act of 1991, Pub. L. No. 1102-166).

NOTE: In order to bring a suit in federal district court under the
Americans with Disabilities Act, you must first obtain a right to sue letter

from the Equal Employment Opportunity Commission.

 
 

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Zz: Jurisdiction ts specifically conferred upon this United States District Court by the
aforementioned statutes, as well as 28 U.S.C. $$ 1331, 1343. Jurisdiction may also be
appropriate under 42 U.S.C. §§ 1981, 1983 and 1985(3), as amended by the Civil Rights
Act of 1991, Pub. L. No. 102-166, and any related claims under Tennessee law.

 

 

PARTIES
3. Plaintiff resides at-
4808 Bon Jour Drive
STREET ADDRESS
Desoto ; Mississippi. 38651 - _ 900 3saeesg
County State Zip Cade Telephone Number

4. Defendant(s) resides at, or its business is located at:

 

 

3620 Hacks Cross Road
STREET ADDRESS
Shelby ‘ Memphis Tennessee 38125
County City State Zip Code

NOTE: If more than one defendant, you must list the names. address of each additional

 

— Age. If'age is checked. answer the following:
Iwas bomin oo. At the umes) defendant(s) discriminated
agains! me.
Iwas[ | more[ J less than 40 vears old. (check one)

NOTE: Oniy those grounds raised in the charge filed the Equal Employment Opportunity
Commission can be considered by the federal district court.

10. The facts of my case are as follows:
Employer retaliated against me because of previously filing an FFOC claim.

 

 

charge filed with the Equal Employment Opportunity Commission or the Tennessee Human
Rights Commission.

11. it is my best recollection that | filed a charge with the Tennessee Human Rights
Commuission regarding defendant's alleged discriminatory conduct on:

12. It ts my best recollection that | filed a charge with the Equal Employment Opportunity
Commission regarding defendant's alleged discriminatory conduct on: 1707017

 
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Only litigants alleging age discrimination must answer Question #13.

13. Since filing my charge of age discrimination with the Equal Employment Opportunity
Commission regarding defendant's alleged discriminatory conduct. (check one):

== 60 days or more have elapsed
— Less than 60 days have elapsed.

14. The Equal Employment Opportunity Commission (check one):

—- has not issued a Right to Sue Letter.

; . : 3/1/2019
x: has issued a Right to Sue letter, which | received on
Date
NOTE: This is the date you received the Right to Sue letter, not the date the Equal

Employment Opportunity Commission issued the Right to Sue lener.

13. Attach a copy of the Right to Suc letter from the Equal Employment Opportunity
Commission to this complaint.

NOTE: You must attach a copy of the right to sue leuer from the Equal Employment Opportunity
Comunission.

16. T would like to have my ease tried by a jury:

x

Lassen Yes

No

 
 

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direct that the Defendant employ Plaintiff, or
direct that Defendant re-employ Plaintiff, or
direct that Defendant promote Plaintiff, or

order other equitable or injunctive relief as follows:

 

direct that Defendant pay Plaintiff back pay in the amount of __$200000
and interest on back pay:

direct that Defendant pay Plaintiff compensatory damages: Specify the
amount and basis for compensatory damages:

 

obligations and resulting damage to credit and reputation

 

4808 Bon Jour Drive

 

Address
Nesbit, MS 38651

 

901.354.4459
Phone Number

 

 
